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MEMORANDUM


To:       The Honorable Rya W. Zobel, Senior U.S. District Judge

From: Stacey Alston, U.S. Probation Officer
Re:       Ileana Valdez

          Dkt. 15-CR-10149
          Request for International Travel
Date: October 23, 2018
Ms. Valdez appeared before Your Honor on July 27, 2018, having previously pled guilty to Conspiracy
to Distribute Cocaine, Cocaine Base, and Heroin in violation of in violation of 21 U.S.C. § 846;
Concealment Money Laundering, in violation of 18 U.S.C. § 1956 (a)(1)(B) and Unlawful Monetary
Transaction, in violation of 18 U.S.C § 1957.     On that date, she was sentenced to 26 Months custody
to be followed by 60 months of supervised release.


The purpose of this memorandum is to advise the Court that Ms. Valdez has requested permission to
travel to the Dominican Republic.      The purpose of her travel to the Dominican Republic is to help
manage her father’s business.      In accordance with our office’s district policy, Ms. Valdez contacted
the Consulate General of the Dominican Republic in an attempt to receive written permission to travel
their country. Ms. Valdez was told they do not provide letters which was verified by the Probation
Office.


Due to her role with her father’s business, Ms. Valdez anticipates that she will have to make additional
trips to the Dominican Republic.     At this time, there are no issues of noncompliance and the probation
office has no objection to ongoing travel to the Dominican Republic.     If Your Honor has no objection
to this travel, and future travel to the Dominican Republic, provided she receives approval from the
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probation office, please indicate by signing below.




Reviewed and Approved by:


/s/ Jeffrey R. Smith
Jeffrey R. Smith
Supervising U.S. Probation Officer


______________________________________________________________________________


[   ] I Concur, International Travel Approved
[   ] I Do Not Concur




                                                      ______________________________
                                                      The Honorable Rya W. Zobel
                                                      Senior U.S. District Judge


                                                      Date: _________________________
